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         EXHIBIT E
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                                           Exhibit E to the Greenbaum Declaration


Document    Basis for Sealing            Clearly Defined and         Why a Less Restrictive           Any Prior       Party in
Title/ECF                                Serious Injury that         Alternative to the Re-           Order Sealing   Opposition to
No.                                      Would Result if the Re-     lief Sought is Not Avail-        the Same        Sealing, if
                                         lief is Not Granted         able                             Materials in    any, and Basis
                                                                                                      the Pending
                                                                                                      Action
Exhibit 3   Exhibit 3 is a letter from   If relief is not granted,   A redacted, public ver-          No              No objection
to Letter   counsel for Johnson &        SaveOn would be at a        sion of the Letter is be-
Dated       Johnson Health Care          competitive disadvantage    ing filed. It is believed
April 18,   Systems, Inc. (with its      should its proprietary      that no less restrictive al-
2024 [ECF   affiliates, “J&J”) to        non-public business in-     ternative is available to
No. 285]    counsel for Save On SP       formation and strategy      prevent the disclosure of
            LLC (“SaveOn”).              be disclosed to competi-    SaveOn’s proprietary
            Exhibit 3 contains           tors and other market       business information.
            quotations from and          participants.
            characterization of
            internal SaveOn emails
            and communications
            describing SaveOn’s
            strategy for
            communicating with
            patients, comprising
            proprietary business
            information. See ECF
            No. 285 at Ex. 3.
Exhibit 4   Exhibit 4 is a letter from   If relief is not granted,   A redacted, public ver-          No              No objection
to Letter   counsel for J&J to           SaveOn would be at a        sion of the Letter is be-
Dated       counsel for SaveOn.          competitive disadvantage    ing filed. It is believed
April 18,   Exhibit 3 contains           should its proprietary      that no less restrictive al-
            quotations from and                                      ternative is available to
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2024 [ECF   characterization of         non-public business in-     prevent the disclosure of
No. 285]    documents produced by       formation and strategy      SaveOn’s proprietary
            SaveOn during discovery     be disclosed to competi-    business information.
            discussing its marketing    tors and other market
            strategy and                participants.
            communications with
            patients, comprising
            business information.
            See ECF No. 285 at Ex.
            4.
Letter      Letter motion contains a    If relief is not granted,   A redacted, public ver-          No             No objection
Dated May   reference to (1) an         SaveOn would be at a        sion of the Letter is be-
2, 2024     allegation made by J&J      competitive disadvantage    ing filed. It is believed
[ECF No.    about SaveOn’s business     should its proprietary      that no less restrictive al-
285]        strategy, the basis for     non-public business in-     ternative is available to
            which J&J learned           formation and strategy      prevent the disclosure of
            during discovery from       be disclosed to competi-    SaveOn’s proprietary
            SaveOn’s internal           tors and other market       business information.
            emails, and (2) an email    participants.
            produced during
            discovery from a SaveOn
            employee discussing
            SaveOn’s business
            strategy, both comprising
            proprietary business
            information. See ECF
            No. 285.
Letter      Letter motion contains      If relief is not granted,   A redacted, public ver-          No             No objection
Dated May   discussion of SaveOn’s      SaveOn would be at a        sion of the Letter is be-
9, 2024     business model and          competitive disadvantage    ing filed. It is believed
[ECF No.    financial relationship      should its proprietary      that no less restrictive al-
285]        with its clients,           non-public business in-     ternative is available to
            comprising proprietary      formation and strategy      prevent the disclosure of

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             business information.      be disclosed to competi-    SaveOn’s proprietary
             See ECF No. 285.           tors and other market       business information.
                                        participants.
Exhibit 30   Exhibit 30 is a contract   If relief is not granted,   It is believed that no less     No             No objection
to Letter    between SaveOn and one SaveOn would be at a            restrictive alternative is
dated May    of its clients, containing competitive disadvantage    available to prevent the
9, 2024      information about          should its proprietary      disclosure of SaveOn’s
[ECF No.     SaveOn’s business          non-public business         proprietary business in-
285]         model and comprising       information be disclosed    formation.
             proprietary business       to competitors and other
             information. See ECF       market participants.
             No. 285 at Ex. 30.




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